Case 3:19-cv-00344-RS Document 1-2 Filed 01/18/19 Page 1 of 51

EXHIBIT A
Case 3:19-cv-00344-RS Document 1-2 Filey J DRLAI 1A 2 Fea S2 of 51

SUM-100

SUM M ON S$ FOR couRT USE ONLY
(CITACION JUDICIAL) (SOLO PARA USO DE LA CORT

NOTICE TO DEFENDANT: ENDORSED FILED

(AVISO AL DEMANDADO): [
FLYING FOOD GROUP, LLC and DOES 1-10, inclusive DAN MATEO COUNTY
DEC 1 4 2018

LL

YOU ARE BEING SUED BY PLAINTIFF:

(LO ESTA DEMANDANDO EL DEMANDANTE): a Clerk of the Superlor Court
ELIAS YAMIDO, MARK SIBAYAN and THELMA YAMIDO, on [ “SDD cane

behalf of themselves, others similarly situated and the general public

NOTICE! You have bean sued. The courl may decide against you without your being heard unless you respond wilhin 30 days. Read the information
below,

You have 30 CALENDAR DAYS after this summons and legal papers are served on yau te file a written response at this court and have a copy
served on the plaintiff, A letter or phone call will nol protect you, Your written response must be in proper legal form if you want the court to hear your
case. Thefe may be a court form that you can use for your response. You an find these court forms and more information at the Califomia Gourts
Online Self-Help Center {www.courtinfo.ca.gov/selfhelp}, your county law library, or the courthouse nearest you, If you cannot pay the filing fee, ask
the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
may be taken withoul further warning from the court, :

There are other legal requirements, You may want to call an attomey right away, If you do not know an atiarney, you may want to call an attorney
referral servier. if you cannot afford an altorney, you may be eligible for free tegal services frem a nonprofit tegal services program. You can tocate
these nonprofit groups at ihe Califomia Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
(www.courtinio,ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lian for waived fees and
costs on any settlement or arbitration award of $10,000 of more in a civil case. The court's lien must be paid before the court wil] dismiss the case.
jAVISO! Lo han demandaco, Si no responde dentro de 30 dias, la corte puede cecidir en su contra sin escuchar su version, Lea fa informacién a
continuacion.

Tlane 30 DIAS DE CALENDARIO después de que le enireguen esta citacién y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia af demandante. Una carta 0 una llamada telefonica no fo protegen, Su respuesta por ascaio iene que estar
en formato legal correcto si desea que procesen su caso en [a corte. Es pasible que haya un formulano que usted pueda usar para su fespuesta.
Puade encontrar astos formutanos da ia corte y mas informacién en ef Centro de Ayuda de fas Cortes de Califomia (www.sucorte.ca.gov), en fa
biblioteca de leyes de su condado a en la corte que le quede més cerca. SI no puede pagar la cvota de presentacion, pida al secretario de fa corte
que is dé un formulario de exencién de pago de cuolas. Sino presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte fe

podré quitar su suetdo, dinero y bienes sin mas adveriencia, . .

Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce & un abogada, puede lamar a un servicio de
remision a abogados, Si no puede pagar a un abogado, as posible que cumple con fos requisitos para obtener servicios legales gratuitos de un
programa da servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro én @! sitio web de Califomia Legal Services,
(wvew.lawhelpcatifomia.org), en el Centro de Ayuda de las Corles de Califamia, few. sucorte.ca.gov) o poniéndase en contacio con fa corte oe
colegio de abogades locales. AVISO: Por ley, fa corte tiene derecho a reciamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier racuperacién de $10,000 6.mas de vaior recibida maciante un acuerdo o une cancesién de arbitraje en un case de derecho civil, Tiene que
pagar el gravamen de fa corte antes de que fa corte pueda desechar e] caso. :

The name and address of the court is; case nue [ l Y 0 6 5 9 B
(Nome: is

(El nombre y direccién de fa corte es): Superior Court of California
County of San Mateo, 400 County Center
‘Redwood City, CA 94063

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(Ef nombre, fa direccién y el ndmero de teléfono del abogado del demandante, o det demandante que no tiene abogado, es):

Arlo Uriarte, Liberation Law Group, P.C., 2760, Mission Street, San Francisco, CA 94110. (415)695-1000.
care, PEC 142018 = NEAL TANIGUCHT C4 ANTONIO K. GEREHIIME oop

(Fecha) (Secretario) (Adjunta}
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatién use ef formulario Proof of Service of Summons, (FOS-010)).
BEA NOTICE TO THE PERSON SERVED: You are served
A as an individual defendant.
2. [7] as the person sued under the fictitious name of (specify):

Fide fo) Cou? , LLC
3. C77 on behalf of (specify):

under: [_] CCP 416.10 (corporation) [2] COP 416.60 (minor)
[] CCP 416.20 (defunct corporation) [J CCP 416,70 (conservatee)
[J CCP 416.40 (association or partnership) [—] CCP 416.90 (authorized person)

(_] other (specify):
4. [_] by personal delivery on (cate):

Page 1084
Fon Adopted for Mandatory Use of Civil Procedure 12.20, 485
Judidal Council af California $s UMMONS Code wine. ES toa got

SUM+100 (Ray, Juty 1, 2009}

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Important Notice re: Nonrefundable Advance Jury Fees-Please Read

DEPOSIT OF ADVANCE JURY FEES
FREQUENTLY ASKED-QUESTIONS

(Assembly Bill 1481 (2011-2012 Reg.:5ess.]]

Q. What is the noiirefundable
jury fee?

A: At least one party demanding a jury on each side ofa civil case must pay a non-refundable fee of one hundred fifty doles
($150), unless the fee has been paid by another party on the same side of the case, (Code Civ, Proc., § 63](b).) If there are
multiple plaintiffs and/or defendants in the same case, only one jury fee per side is required to avoid waiver of a jury

under Code of Civil Procedure section 63)(f). ‘ ,

2: What are the deadlines
for paying the =
nonrefundable jury fee?

4, If the party requesting a jury has not appeared before the initial case management conference, or first appeared more than 395

A: The nonrefundable jury fee must be paid on or before the date scheduled for the initial case management conference in the
action, except as follows: CO

1. In unlawful detainer actions the fees shall be due at least five days before the date set for trial

2, Ifo case management conference is scheduled in a civil action, or the initial case management conference occurred before
June 28, 2012 and the initial complaint was filed after July 1, 201], the fee shall be due no later than 365 calendar days after the
filing of the initial complaint.

3, Ifthe inital cage management conference was held before June 28, 2012 and the initial complain in the case was filed before
July 1, 2011, the fee shall be due at least 25 calendar days before the date intially set for tridl.

calendar days after the filing of the initial complaint, the fee shall be due at least 25 calendar days before the date initially set for

til, (Code Civ, Proc, § 631(c),)

: _): What if party misses
“he deadline to pay the
ronrefundable jury fee?

A: Except under the circumstances provided in Code of Civil Procedure section 631(¢), (discussed in FAQ 1.4), a party has
waived the right to a trial by jury in that action, unless another party on the same side of the case timely paid the nonrefundable

jury fee. (Code Civ, Proc,, § 631(1(5),) te mare pe!
Note: The court may, in its discvetion upon just terms, allow a trialiby jury despite the waiver. (Code Civ. Proc., § 631{¢).)

): What if'a party niissed a
. badline to pay the
onrefundable jury fee
etweent June 27, 2012 and
iovember 30, 2012?

A: Ifa party filed to timely pay a nonrefundable jury fee that was due beech June 27, 2012, and November 30, 2012,
inclusive, the party will be elieved ofa jury waiver on that basis only, ifthe party pays the fee on or before December 3), 20.2):
or 25 calendar days before the date initially set for trial, whichever is earlier, (Code Civ, Pros., § 631(¢).)

See ee

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Q: May a clerk accept
payment of a nonrefundable
jury fee after the deadline
has passed?

| following a waiver,

A: There is nothing in the recent amendments to Code of Civil Prooedure section 63] that directs or authorizes courts to

; refuse a late payment of the nonrefundable jury fee, Absent this direction oy authority, the clerk likely should accept advance

Jury fees tendered by a party, provide a receipt, and record in the court file the date the fees:were received. (See.People v,
Punches (1998) 67 Cal.App.4th 240, 244 [court clerks “must act in strict conformity with statutes, rules, or orders of the
court” defining their duties, and have “no power to decide questions of law nor any discretion in perfoxming” their duties. ])
Note: Except as provided in Code of Civil Procedure section 631(c), only a judge has the authority to gan a Jury trial

Q: [s payment of the
nonrefundable jury fee
required if the party docs not
want to retain the right fo a
jury in the action?

') As No, Only parties that want to vetain the right to a jury must pay te nonrefundable jury fees,

Q): May the nonrefundable
jury fee be waived because
ofa party’s financial
condition?

As Yes, A court may (but is not required to) waive jury fees and expense, and other fees or expenses itemized in an
application fora fee waiver under rule 3.56(1) and (6) of the California Rules of Court.

Q: May the court waive the
nonrefundable jury fee for
government entities under
Government Code

section 6103?

A: No. Government Code section 6103 explicitly states: “This section does no apply to civil j jury fees or.civil jury deposits.”
Although this exception to the fee waiver for government entities predates the creation of the nonrefundable jury fee, the plain
language of the exception applies to the norirefundable jury fee. |

|

Q: I? more than one party on
a side pays the
nonrefundable jury fee, is
any refund of the additional
fee due?

A: No. Code of Civil Procedure 631(b) requires “al lenst one party.demanding aj jury on each side” to pay the nonrefundable
jury fee, “unless the fee has been paid by another party on the same side of the case,” (Emphasis ade. in addition, Code of
Civil Procedure section 631.3, which governs refunds of jury. fees state in subdivision (c) thatthe “fee described in
subdivision (b) of Section 632 shall be noncefundable and is not subject to this section, Therefore, although they are not

{required to pay the juy fee, if additional parties on a side pay the nonrefundable jury fee, that fee is stil nonrefundable. The

additional fee may not be used to offset actual juror fees or mileage, either,

2: Are any jury fees
efundable?

A: Yes. Any $150 advance j juy fee deposited before June 28, 2012 may be refunded upon request of a parly as provided under

Code of Civil Procedure section 631.3. Similar ly, any jury fees other than the'S150 advance jury fees that are deposited, but

“| not used, a may be refunded upon request of a party as provided under Code of Civil Procedure section 631.3,

Case 3:19-cv-00344-RS Document 1-2 Filed 01/18/19 Page 5 of 51

Cl-140
ATTORNEY OR PARTY WITHOUT ATTORHEY {Nanta, Slate Zar numzas, sncaccte ss): FOR COURT USE ONLY
« TELEPHONE NO: . FAX NO, (Optionad:
E+rall ADDRESS (Optional.
ATTORNEY FOR (Names,

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN NWATEO
singer ansagss 400 County Center-* cron
MAIUNG ADDRESS: 400 County Center
OTY AND 2P CODE: Redwood City, CA 94063-1655
SRANCH NAME: Southern Branch

PLAINTIFF/PET ITIONER:
DEFENDANTIRESPONDENT:
"CASE MANAGEMENT STATEMENT CASE NUMBER
(Check one); (_] Unumirepcase . (7) tinitep case
+ +s see sem ono —fAMOUNE dsmended > » (Amount demanded is $25,000-
exceeds $25,000) or less)

AGASE MANAGEMENT CONFERENCE is scheduled as follows:
Date: Time: . Dept: Div.: Room:
Address of cour (if different from the address ebove):

{_"] Notice of Inient lo Appear by Telaphone, by (nema):

INSTRUCTIONS: All applicabla boxes must be cheekad, and the specified information must be provided,
1. Party.or parties (answerone):

a, [_) This staternant is submitied by party (name):
b. [ ] This staternent is submitted jointly by parties (names):

2, Complaint and cross-com plaint (io be answered by plaintitfs and cross-complsinenis only)
: a. The complaint was filed on (date):

b. [[_] The cross-complaint, ifany, was filed on (date):

3. Service (to be answered by plaintifis and cross-complzinants only)
a CoO a parties named in the cornpiaint end cross-compiaint have been served, have appearad, or have been dismissed.
b. (77) The foltowing parties named in the complzint or cross-complaint
(1) I have nol been served (specify names and explain why aol}:

(2) (3 have been served but have nol eppeared and have not been dismissed {specify names):

(3) (_) have had a default entered against them (specify names):

c ([) The following addilional parlies may be added (specify t names, nature of involvement in casa, and daie by which
they may be sarved):

_ 4, Description. of case .
a. Typeof casein C_] complaint C1 cross«complzint (Describe, inclucing causes of action):

Page 1 of $
Tamas os ensayo CASE MANAGEMENT STATEMENT Cal. Rules loon,
C110 Rev. July 1, 2011] ages 3.720-3.730

Weer Cyurts.ci. gov

Case 3:19-cv-00344-RS Document 1-2

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. 4

CM-119

CASE NUMEER

PLAINTIFFIPETITIONER:

DEFENDANTIRESPONDENT:

statement of the c2s¢, including eny da
d, including medical expenses lo date
and estimatad future lost earnings. li

4, 0. Providea brief
damages cleime
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C] (ifmore space is nesded, ch

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describe the nature of (he relief}

ted as Adachmeat $b.)

al injury damages are sough t, specily the inju
d fulure medical expense

ry and
s, fost

da the name of each parly

$, Jury or nonjury tial
Tha party or parlies request [__] a jury triat (J a nonjury trial (if mora than ons party, prov
requesting a jury tial): .
6. Trial date
a, (LJ The trathas been set for (date):
o. LI No inal aie hes pasn si. This case athe deady for tela! usthin 12 months of {98 date oi Ihe filing of the complaint (if
nol, explain):
c. Dates on which patties or atiomeys will nol be avalleble for trial (specify dates and explain raasans for unavelle bility):
J. Estimated length of trial
The party or parties estimate thal the trial will take (chesx one):
a, Cllaays (specify numbeq:
b. [_] hours (short causes) (specify):
8. Trial-rspresentation (to ba ensvesred jor each party) . -
The pany of perues win ve rest sserted-ebisel_(J—hy tne aliamey oF party listad in tne caalion [7] by the following:
a, Afsorney: , , ,
b. Fira:
c. Adcaress:
dg. Telephone numoer, i Fex number.
e. E-mail addres: © . - g. Pary represented:
lation is described in Attachment 8.

{7} Additions! represen
Preference

[_]} This case is eni
pute rasolution (ADR)

ided to preference (specify cove section):

10. Altarnative dis
AOR information package. pigase‘note that different AD
the ADR information package provided by the court uncer r
courtand communily programs in this cess.

(1) For parties represented by counsel; Counsel CJ hes

in wulé"3.221 lo the cient and reviewed ADR

a.

(2) For self-rapresented parti

icle} arbitration or ¢
mandatory judicial
t Procedure sec

ivil action mediation {if

aro

b. Referral to jud

4 This matter is subject to
(1) Co) This in under Code of Civi

statutory limit.

Plaintiff efects fo refar this ca
Civil Procedure section id it.

trom judicial arbitration u

‘aC
3) CJ

This case is exemp nder rule 3.
mediation under Cod

R processes 2
ule 3.224 for inform

options with the cliant.

jas: Party (J has. CI hes not re
aveilabte).

ation under Cace
tion 1775.3 because

s@ to judicial arbitration gad egrees to limi

3 of Civid Procedure section 1775 el seq.

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viewed the ADR information packzg=

of Civil Psoc
tha emauat in

1 recovery to the amount specified in

611 of
(specity axernption):

edura section 1141.1 ¢ oF toc
controversy does not exces

tha California Rules of Courtor from civil act

and communities; read
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(] hes nat provided the AOR information package identified

identified in rula 3.221.

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CASE MANAGEMENT STATEMENT

Case 3:19-cv-00344-RS Document 1-2 Filed 01/18/19 Page 7 of 51

PLAINTIFFIPETITIONER:

CN-110

DEFENDAN T/RESPONDENT:

10. . Indicate the ADR process or processes that the party or parties are willin

9 to participate in, have egread to pariicinete in, or

have already participated in (check all that apply and provide the Specified information):

The party or parties completing
this form are willing to”:
Darticipale in the following ADR
processes (check ad that apply):

if the party or parties cémpleting this form in the cese have agreed lo

| participate in or have Steady cOmplatad aii ADR process or processes,
indicate the status of the proces
stipulation):

ses (attach a copy of the parties‘ ADR

weaves

(1) Mediation

m

i
t

‘Oooo

Mediation session nol yet scheduled

“Meidiation session Scheduled for (date):

Agreed lo complete mediation by (gate):

Madiation completed on (data): ~*-

(2) Settigrmment
conference

Settlement conference nat yet scheduled.
Settlement conference scheduled for (dete):
Agreed lo complete setlement conference by (data):

Satlement conference complelad on (déte):

-QyWeti alevaluetion

Neuiral evaluation not yet scheduled
Neutral evaluallon scheduted for (date}:
Agread to camplate néulra! evatualion by (date):

Neutral evaluation compteted on (dete):

(4} Nonbinding judictat
ardiiration

Judicial arbitration not yet scheduled
Judicial arbilration scheduted for (date):
Agreed to complete judiciat erbitration by (date):

Judicial arbitration completed on (data}:

(5) Binding private
arbitration

a

Private arbitration nol yet scheduled
Private arbitration scheduled for (date):
Agreed to complete private arbitration by (date):

Private arbitration completed on (date):

{6) Other (specify):

DOOD CBO0 D000 O0coO oud

AOR session not yel scheduled

ADR session scheduled for (dale):

Agreed to complete ADR session by (dala):
ADR completed on (date):

C1400 (Rev, Juty 1, 2015}

CASE MANAGEMENT STATEMENT Pageials

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y )

a
CASE NUNGER

PLAINTIFFIPETITIONER:

DZFENDANTIRESPONDENT:

41. insurance.
2. (_] insurance carrier, if any,
b. « Reservation of rights: C_] Yes No
c. (J Coverage issues will significantly affect resolution of this’ case (explain):

for party filing this statement (name):

"12, Jurisdiction
sing of this case and describe the status.

Indicate any matlers thal may aifect the cour''s jurisciclion or proce
([_) Bankruptcy (__] other (soscify):

Status:

+4 Balsted cases,
a. (__] There are companion, unsErizing, OF raigieg cases.

(1) Nama af case:

(2) Name of court:

(3) Case number.

(4) Status: :

{—] Additional cases are dascribed In Adachmant 132.
t. (] Amation to [<7] consolidets (J coordinate will be filed by (name party}:

\4, Bifurcation /
(—_) The patty or parties intend to file a mation for an ardar bifurceling, severing, of coordinating the fotewing issues or causes ol

action (speciy moving party, type of motion, end reasons):

15, Other motions
type of molicn, end issues):

(7) The panty or parties expect to file th etify moving party,

s following motions before trial (sp

16. Olscovery
3. CJ The party or parties have completed all discovery.
ba complated by the dale sp

b. (J The following discovery will
Peny . Descrintiog

acified (describe all anticipated discovery):
. Det

cv

ary of glectranically sored informetian, are

-

es, including issues regarding {he discov

c. (7 The following discovery issu
anticipated (speciiy):

* pagal f 5

CASE MANAGEMENT STATEMENT

———
Ching 40 (Rav. dule §, 201)

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; CM-110
PLAINTIFFIPETITIONER: CASE RUMBER:

DEFENDANT/RESPONDENT:

17. Economic litigation .

a. (~] This is a limited civil case (i.2., he amount demanded ts $25,000 af less) and the economic fitigetion procedures in Code
of Civil Procedure sections 90-98 will 2poly to this case,

b. (_] This is.a Smiles civil. case and a motion to.withdraw the case from the economic litigetion procedures or for additional
discovery will be filed {if checked, explain specifically why economic ie itigation procedures relating (o discovery or trial
should aot apply {o this case): .

18. Other issues

- E)-The. -peRy-Or-panizs- requestihat- the: follawing-additional matte

is be considered or determined at the case mandagment
conference (specify):

18. Meet and confer

2, (—) The perty or parties have met and conferred with all parties on al subjects required by rulz 3.724 of the California Rules
“sof Court (if not, explain): :

<-
~

d. After meeting and conferring as required by rule 3.724 of the California R

ules of Court, ihe parlies earee on the following -
__ (specify): ,

20, Toial number of pages attached (if eny):

lam completely familiar with this case and will be fully prepared to discuss the slatus of discovery end alternative dispule resolution,

as well as other issues raised by this statement, and will possess {he authority to enter into Stipulations on these issues at the time of
the case management conference, including tha written authorily of (he party where requited, .

Dale:

(TVPE OR PRINT NANE) (SIGNATURE OF PARTY OR ATIORNEY}

(TYPE OR PRINT Kaley"

. {SIGRATURE OF PARTY OR ATTORNEY)
{] Additional signatures are atlached,

Cte DIV IAEV, duay 4, cue] CASE MANAISEMESA! Slo Denne

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Superior Court of California, County of Sen Matzo

CHAPTER 2. CIVIL TRIAL COURT MAN AGEMENT RULES
PART 1. MANAGEMENT DUTIES

Rwe22 Trial Court Management
Reference CRC, rules 3.700, 3.710-3.713, {0,900, {0901

(Adopted, effective January 1, 2000) (Amended, effective January 1, 2007)

PART 2, CASEFLOW MAN. AGEMENT

eee A oe ee ee tame 6 ont

Rule 2.2 New Case Management _ ne ammeee

This mule applies to all civil cases with the exception of the following: -(1) juvenile court matters;
(2) probate matters; (3) family law matters; and (4) civil cases which, based on subject matter, have been
assigned to a judge, or to more than one judge, for all purposes, For Tules applicable to these exceptions
see CRC*2.20, 2,30; 2.570-2.573; 2:585; 2'810-28197 7 830-33 834, 3.650, 3.700-3.735, 3 $20-3.927,
3.1370, 3.1380-3.1385, 3,1590-3,1591, 3.1806, 5.590, 10.900-10.901, 10.910, 10,950-10.953,.

ON ew ee tem we ces ee =

(a) Purposes and Goals

te ae eee

The purposes and goals of the San Mateo Superior Court Civil Case Management System '

effective January 1, 1952 are:

(1) To manage faisly and efficiently, from commencement to disposition, the processing of
civil litigation. ,

(2) To prepare the bench and bar for full implementation of the Trial Court Delay Reduction
Act (A.B, 3820) on July 1, 1992; and

(3) To encourage parties to agree to informal: discovery early in the life of the case, to use

Standard form interrogatories and to. Promote alternative dispute resolution. Nothing in-theée

Tules is intended to prevent the parties from stipulating to

way of a case management conference, settlement confere
appropriate, Lee : oe

an earlier intervention by the cout by
nee or any other intervention that seems

(4) a accordance with Sections 3.710-3.715, 10,500, 10.901 of. the California Rules of
Court, Local Rule 2.3 is adopted to advance the goals of Section 68603 of the Governmeit Code

and Section 2.1 of the Standards of Judicial Administration recommended: by the Judicial
Council,

(b) Team concept’

Beginning January 1, 1994 civil litigation will be managed primarily by a team of two program
judges, ‘. .

The clerk will assign the case to a prograin judge at the time the complaint is filed. The case shall

be menaged by the assigned program judge until disposition or until the case is assigned to a trial
department. .

Div il - Rules 201

Revised 1/4/2012

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“4 )

Superior Court of Celiforn ia, County of San Mateo

(c)

(d)

Cases filed after fuly 1, 1992

after July 1, 1992, the case shall be subject to all of the civil case
-th below. Cases filed before July 1, 1992 shall also be subject to
(4) (Filing and service of pleadings; exceptions).

Upon the filing of 4 complaint
managenient system rules set fo
these rules except for subsection

Filing and service of pleadings, exceptions.

(1)... Complatat: Except as provided in paragraph 5 below, plaintiff shall within 60 days after
filing of the complaint serve the complaint on each défendant along with: «
agement Statement...

(A). A blank copy.of the Judicial Council Case Man

(B)  Acopy of Local Rule 2.3;
(C) The Notice of Case Management Conference.

é

If a metter has been submitted to arbitration pursuant to usinsured motorist
insurance, the plaintiff shal) file a notice to that effect with the court at the tine of filing
the complaint, or at the time the matter is submitted. ‘The notice shall include the name,
address and telephone number of the insurance company, along with the claim number or
other designation nndet which the matter is being processed. ,

(2) Cross-complaiat: Except as provided in pareeraph (3) below, each defendant chalt withia
30 days after answering the complaint.file any cross-complaint (sithin 50 days if compliance

with-a governmental cleims statute is 2 prerequisite-to the-cross-complaint) not already served
with the answer wader Code of Civil Procedure section.428.50 and -serve with that .cross-

complaint:

(A) A blank copy of the Judicial Council Case Manzgement Statement,

Div 11 - Rules

(8) Atopy of Lousl Rus 23)

(C) The Notice of Case Management Conference.
lov, each party served with

eee

ded in paragraph 3 bel

(3) Responsive pleadings: Except a8 prow
a complaint or cross-complaint shall fle and serve @ response withia 30 days after service” The
dto a complaint ar

parties may by written agreement stipulate to one 15-day extension to respon

cross-complaint.
If the responsive pleading is a démiitér, motion tb strike, otidd to quash service of
motion for 2 change of venue OF 4 motion to stay or dismiss the cass on forum non
the demurrer is overruled or the motion denied, e further responsive

pleeding shall be filed within 10 deys following notice of the ruling unless otherwise ordered. If
is grented with leave to ameud, an amended

a demurrer is sustained or a motion to strike
g notice of the ruling woless otherwise ordered.

coraplaint- shall be filed within 10 days followin
ime for filing pleadings responsive to such amended compleint

The court may fix a tim
d et least 10 calendar days before the

process,
conyenens grounds, and

(4) Proofs of service: Proofs of service must be file
case management conference.

(5) Exceptions for loager periods of time to serve or respond:

202 Revised y20l2

Case 3:19-cv-00344-RS Document 1-2 Filed 01/18/19 Page 12 of 51

Superior Court of Catifornie, County of San Metso

te wane nereee pares

(A) Tine to serve may be extended for good cause: Upon ex parte ‘application to the

court, in compliance with California Rules of Court 3.1200 3.1206, within 60 days of

the date the complaint was filed, plaintiff may obtain an extension of time to serve to a

date on or before the case management conference, if good cause is shown by declaration
of counsel (or plaintiff filing in propria persoua), An additional extension of the time to
serve (an inital-extension if the application is by. a cross-coniplainant) may be- obtained
upon writen application to.the court upon good cause-shown before’ the prior extension
has expired, The filing of a timely application for an extension will automatically extend -
the time to serve by five days, whether or not the application is granted, : .

sp Goo cause sill be found if the. declaration shows-that-the action
a. defendant who_is. an. wninsured_motorist,_and -the_plaintff'sclaim
arbitration provision in plaintifi's contract of insurance. Jn defermining good cause in

other cases, the court.will give due- consideration ta any standards, procedures and
policies which have been developed in consultation with the bar of the county through the
bench-bar trial court delay committee, 2: 7 gr sot

-is-filed-against-~---
-is-subject_to.an .

fo meee pe amma ees ta ee ny site eee me eee temas

(8) Additional extension of time if uninswred motorist arbitration'is pending, In
addition to any extension of time obtained pursuant to subsection G)(A) above, if an
uninsured motorist arbitration is still pending between ‘plaintiff arid plaintiffs insurance _

~ ~carrier 30-days prior tortie expiration of the extension, ‘plaintiff may obtain an additional
extension of time- by an ex parte application supported by a declaration showing the

scheduled or anticipated date of the arbitration hearing and the diligence of plaintiff in
pursuing arbitration.

(C) Time to respond may be extended for good cause: Before the time to respond .
has expired, any party served with a complaint or cross-complaint may, with notice toall’!
other parties in the action, make ex parte application to the court upon good cause shown
for an extension of time to respond. The filing of a timely application for an extension

will automatically extend the time to respond dy five days, whether or not the application '

=). is granted.
“a?

(e) Case management conference
qd) Date of conference: Unless the parties stipulate in writing and the court orders that the
case be earlier referred to arbitration, a case management conference will be set by the clerk at the
time the complaint is ted, (Goverment Code 68616)
(2) Attendance at the case management conference is mandatory for all parties or their
attomeys of record. .
(3) Plaintiff must serve the Notice of Case Management on all parties no later than 30
calendar days before the conference, unless otherwisé ordered by the Court.
(4) The Court will deem the case to be at-issue at the time of the conference (Reference:
CRC 3.714(a)) absent a showing of extraordinary circumstances,
(3) The conference may be set at an earlier date by order of the Court or by written
stipwlation of the parties: * :
(6) Designation of trial counsel: Trial counsel and, except for good cause shown, back-up
trial counsel, must be specified at the case management conference, If such counsel is not

Div 11 - Rules

203 Revised 1712012

Case 3:19-cv-00344-RS Document 1-2 Filed 01/18/19 Page 13 of 51

- 5 . : 4

Supesior Court of Californie, County ef Sea Mats
specified, relief from the echeduled trial date may mot be obtained based upon the ground that
counsel is engaged elsewhere.

(7)

pre-trial orde

Conference orders: At the initial conference, the program ju
rg that may include the following:

(A)

(B)

we (C)

(G)

_An order essigning a.trial date; wen eee

dge will make appropriate

An order referring the case to arbitration, mediation or other dispute resolution

process;

An order transferring the case to the limited jurisdiction of the superior court,

ase as one Which may be protracted and determining

An order identifying the c
ation may be appropriate, including

what special administrative and judicial atte
special assignment;

An order identifying the case as one tvhich may be amenable to early settlement
or other alternative disposition technique:

limited to establishing a discovery

An order of discovery; including but not
establishing a discovery cut:

schedule, assignment to a discovery referee, and/or
off date;

Au order scheduling the exchange of expert witness information,

An-order assigning a-mandatory .settlement conference date pursuant to Local.

| Rafe 2.30) end 2.4, and

. Other-orders.to echieve the. interests of justice and the timely disposition of the.

case.

(8)

Div If - Rules

CourtCal! Telephonic Appearances

(B) | Procedure. Telephoaic eppe
vendor, are permitted at case management Co
a telephone appearance must serve and file a Re

with CourtCall not less than five co

Baference CRC, Rule 3.670

arances through the use of CourtCall, an independent
aference hearings. A party wishing to make
quest for Telephone Appearance Form
wut days prior to the case management conference

CowtCall Appearance form and accompanying

hearing, Copies of the Request for
is a fee to parties for each

information sheet are available
CourtCall appearance and fees are paid

in the Clerk’s office. There 1
directly to CourtCell. CourtCall will fax

confimnation of the request to parties.

(CQ):

On thé day Of the case’ management 'c

onference -hearing,~counsel -and-parties
inutes prior to the hearing, Check-in is

appearing by CourtCall must check-in five mut
accomplished by dialing the courtroom's dedicated toll-free teleconference number and
Call in the confirmation Any attomey or party

access code that will be provided by Court
calling after the check-in period shalt be
treated in the same manner as if the person h

considered late for the hearing and shall be
ad personally appeared late for the hearing.

204 Revised 1/1/2012

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Supezior Court of Celifornis, Counsy of San Metso

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(g) -

ow wan —Phe Come nds It is in the best interests of

Div I - Rules . 205

Case Management Statement ee we

At least 15 calendar

conference.

@) = Ata case management conference, parties may be referred to an appropriate
dispute resolution (“ADR”) .process (e.g., mediation, binding arbitration or neutral
evaluation), If parties are referred ADR, they must redial the dedicated toll-free
teleconference number immediately following their case management conference
appearance and use @ second CourtCall access code to telephonically appear at the ADR

. referral meeting with ADR staff. If a case has been referred to ADR, a party’s case

management conference appearance is not compijete until they have also telephonically
appesied at the mandatory ADR referral, . If parties are referred to judicial arbitration,
- they do not have to appear at the ADRreferral ; mo,

enemy ey mee Fee bene one nar mnte tee

days before the scheduled case management conference, each party shall file
with the court and serve on all other parties a completed Judicial Council Case Management
Statement, If the case is set for further case management conference hearing(s), all pasties must
file updated Case Management Statements 15 (fifteen) calendar days prior. to. the. scheduled
hearings) eee eee enn ne weenie enya t

wee eee wet tees

Appropriste Dispute Resolution, ADR, Policy Statement

parties to litigation’ to. participate in appropriate
dispute resolution procedures,- including but not:limited to mediation, neutral evaluation, private
or judicial arbitration, voluntary settlement. conferences, and the use of special masters ana
referees, Therefore, al! parties shall stipulate to, or be referred to, an appropriate form of dispute
resolution before being set for rial, imless there is good cause to dispense with this requienient.
Parties are encouraged to stipulate to judicial arbitration or ADR prior to the case Thana gepent

Stipulations to Aybitration -

(1) sf the case is at issue, and all counsel and each
in writing to judicial arbitration prior to the case man
open following judicial arbitration. A written stipula
the clerk and a’copy-immediately sent to the Maste

party appearing in propia persone stipulate
agement conference, discovery will remain
tion to judicial arbitration must be filed with

days befare. the. case. managemént-conference- idorder to’ dvoid the: néEd “to APE af that
conference. A ‘written stipulition,to arbitrate’iwill’be dééméd to He without a limit‘as to the
amount of the award unless it’expressly: stetes otherwise. - , .

F, ~

(2) Tr isithe policy of this court to make every effort to process cases in a tiniely manner.
Parties who elect or ate ordered b the court to judicial arbitration must‘complete the ‘arbitiation
hearing within the time frame specified by the court,

Partics who-wish to coatinne thie arbitration hediting after the jurisdictional time frame
must submit a court provided form entitled "Ex Parte Motion and Stipulation for continuance of
Judiciat arbitratior® Hearing.” Partiés.can obtain a copy of the form by contacting the court's
judicial arbitration administrator (See Local Rute 10.1(@)()}: - Conitinnancds without Adequate
grounds will not be considéréd. .A casé taand gemeiit idee Will either grant of deny the request
for continuance, If thé request ig déhied; the cast “tiay be assigtied a trial date.” If the request is
granted, the judge will impose a nety deadlize by which the arbitration must be completed:

(3) ‘Parties who wish to change their election from judicial arbitration to another form of
ADR must file a “Stipstation and [Proposed] Order to (Mediation, Neutral Evaluation, ete.] in
Lieu of (Court-Oidered] Judicial Arbitration” with the Clerk of the Court. The Stipulation must

Revised 1/1/2012

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Calendar Coordinator at least 10 calendar *

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Superior Caurt of Colifernia, Coanty of Sex Matsa /
state that parties have: (i) notified both the judicial arbitration and ADR coordinators, (Gd)
cancelled the judicial arbitration hearing: (iii) scheduled the ADR session within fiye months of
the previously scheduled judicial arbitration bearing, and (iv) stipulated to a trial date, which is

not more than six months from the previously scheduled judicial arbitration hearing.

@ Stipulations to Private ADR

pearing in propria persona stipulate
to ADR with the clerk of the court
se’ management Conference, that
all parties of the continued case

ote

(1) Tf a case is at issue and all counsel and each party ap
__ ip sriting to ADR and file a completed Stipulation and Order
at least ten (10) caleadar days” béfore the fitst ‘scheduled ca
conference shall be continued 90 days. The court shall notify
management. conference, —— nn —-nwe~ sneesenee tes one

(2) ‘If counsel and each party appearing in propria persona are unable to agree upon an
appropriate ADR process, they shall appear at the case nianagement conference.

(3) Following an appearance at @ case management conference hearing, parties shall, within
21 calendar days , file e completed Stipulation to ADR and Proposed Order identifying the name
of the ADR provider, date of ADR session end the names of those who will be in attendance at
the ADR session, The completed Stipulation to ADR and Proposed Order shall be iuled with the
caurt by plaintiff's counsel. The parties, through counsel, if represented, shall confer with the
court's Multi-Option ADR Project (M:A-P.) staff if they cannot agree on a provider. Plaintiff's
counsel, shall additionally, send 2 copy of the completed Stipulation to the court's M.A.P. offices
within the same 21-day period. oo :

(4) - ‘All parties and counsel, shall participate inthe ADR process in good faith.
(5. To maintain the quality of ADR services the court requires cooperation. from ell parties, . -
counsel and ADR providers in completing ADR evaluation forms, and returning these forms to

the M.A.P. offices within 10 calender days of the completion.of the ADR process.

Ticredintionsessicn pest Spaws
the court

(6) "AUK Program Complaiirrolicr 2
the mediation process or the conduct of a mediator affiliated with the court’s progrem,
encourages them to speak directly with the mediator first In eccordance with Califomia Rules of
Court $3,865 et seq., parties may also address written complaints, referencing the specific Rule of
_ Court allegediy violated, to the Court's Civil ADR Program Coordinster. - (For complete
complaint procedure guidelines, see court web sits: FAVE) senmateocommore/adreivt
(c)(4), the court, in its

of the ADR provider,

(7) ‘In accordance with the Code of Civil Procedure, section 1033.5
discretion, may allow the prevailing party at trial the fees and expenses
unless there is a contrary agreement by the parties.

d) Setting Short Cause Matters
al is 5 howxs or less prior to the conference, 4
ays before the cass management conference

If the parties agree that the time estimated for tri
and a copy immediately seat to the Master

written-stipulation shall be filed at-least 10 calendar ¢

in order to avoid the need to appear at that comference
Calendar Coordinator. In the abseace of a stipulation, either party may file a motion to have the

matter designated a “short cause" and set the case accordingly. All such matters shall be
presumed short cause unless the contrary is established at the hearing on the motion.

a Law and Motion

Div U - Rules 206 Revised 1/2012

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Superior Court of California, County of Sen Mato

All law and motion matters shall be heard by the regularly assigned Law and Motion judge.

a) Setiement Conferences

All ceses not assigned to arbitration or some othe
two settlement conference dates, the first of whi
the circumstances presented by the case
weeks prior to the assigned trial date.

t dispate resolution mechanism will be assigned
ch will be at the earliest practicable date under
, aod the second within approximately two

Cases assigned to arbitration or other form of ADR may be subjected to a settlement conference

prior to the arbitration or ADR process, but will be assigned to a pre-trial settlement conference
only if the arbitration ADR procedure fails fo resolve the case, __ -.

All cases which fail ta resolve by the trial date will be

subject to an additional settlement
conference on the iriel date,

All settlement conferences shall be stibject to the requirements specified in Local Rule 2.4.

(m) Sanctions

Sanctions pursuant to CRC 2.30 shall be imposed for any violation of the civil case management
system rules, Thé minimum sanction imposed shall be $150.00 payable to the court; sanctions
payable io the court may be larger where appropriate and will be in addition to appropriate

attomey fees and calendar changes, including any appropriate change in calendar statis‘of the
action,

AL ete
Ms

e conference only upén az"
“The, -
af

Sanctions mandated hereby may be waived by the judge conducting th
application showing good cause why sanctions should not be imposed,

(Adopted, effective July 1, 1996}Amended, effective Jenuary 42000) (Amended, effective Tenuary 1, 2003)

“rm (Ameaded effective July 1, 2003) (Amended, effective January I, 2005KAmended, effective January 1, -2006)
we (Amended, effective January 1, 2007) (Amended, eGective Jequary 1; 2010)

Rule 2.3.1 Orders to Show Cause re: Dismissals

~" “@)_~ "A Rearing on an order to show cause why
the matter shall be set at the two year annivers

the case should not be disraissed for failure to prosecute
ary of the filing of the complaint and/or ¢zoss-complaint.

0) An order to show cause hearing shail be set 45 days after court's receipt of notice of settlement.

(c) An order to show cause hearing regarding dismissals may be set by the court to achieve the
lnterests Of justice and the timely disposition of the cese.

(qd) - An order to show cause hearin
ordered time frame-may-be-heard durin
trial date may be assigned,

g re: failure to complete judicial arbitration within the court-
g-the case management calendar.” Sanctions may bé inposed anid a

(Adopted, effective January 1,2000) (Ameoded, effective January 1, 2003)(Amended, effective January 1, 2006)

Rule 2.4 Settlernent Conference

Reference: California Rule of Court, rule 3.138.

Div J - Rules 207 Revised 1172012

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Civil Appropriate Dispute Resolution (ADR) Information Sheet
Superior Court of California, San’Mateo Gouniy

Appropriate Dispute, Resolution (ADA) is a way of solving legal problems without gaing to triel. Alt ,
types of disputes can ba resolved through ADA, The Caurié encourages you {0 use Same form of ADR
before you proceed to ifial, The ) mast popular, form of ADRi ig mediation. The Mufti- Optic’ AOR Project

can help you chodse the option that is bes! for your case énd teier’ you to dn experienced ADR -
provider,

Whai ara ine Adventonés of Using ADR?

woe

Ss Faster = Traditional iigation can take years lo complete bul NDR usual takes”
weeks or months, . ats

‘2 ° Chesper—Parlies' can’ save on aitozrisys' fée$ ari fnigation costs.
@ ” Mora control & flexibilil 'y ~ Partias choose the ADR process most appropriate for theit case.

2 Cooperative & less stressiul ~in mediation, parties coopaiale | to find a mutually
agreeable solution to their dispute.

.. What ara the. Disédvanteasé ‘of Using ADR?

2 Youmay ga to ‘Court anyivay— ify you can't retolg you ‘case 9 Using ADR, you may stil
heve to spend time and money on your lawsuil.. .

a Not fred - The neuit2is charge {aés' (except in judicial arbitration), but you may sy quell

#8

owe we we eee
for financial aid: tA t ora 8 Ge cgay ht Lh

. Are There: Different Kinds oi ADR?

a Mediation - A neutral person (mediator) helps the parties communicate, clarify facis,
identify legal issues, explore seitlement options and agree on a solution that is acceptable 16 all
sides. . Le . . -

a ~ Judicial Aibitfetton — Is an Informal hating where’ neutral person (arbitrator) reviews
ihe evidence, hears erguments and makes a decision on your case. In | non-binding judicial
arbitration, parties heve the right to reject lhe arbitrator's dacisian and proceed to ‘rial, For more
information segarding ipeical arbitration, please si see the ettached Sheet of call {850} 363-4896,

ao - Binding Arbitraiion>. Fhe parlles agree ahead of lime to accept the, arbitrator's decision .
as final. Partles who choose binding arbitration give" up B thelr right | to g0. to. Coust band ine fight to
appeal the arbitrator's decision. . “. , toes

tee The

© Neutral Evaluation - A neutral person on (evalustor listens tothe parties; asks them
questions about thelr case, reviews evidence and inay hear’ winess testitti Sfiy. ‘The evaluator
helps the parties Identify the most important leoal-issués-in their Gdse'and 4 gives thent an analysis
of the strengths and weaknesses of each side's case: Special neutal evaluation guidelines are
available on the Court's website al www. senmaleocourtord/ade.*

2 Settlement Conférence Alhsugh similar to, tnédiation, the neutral (a Judge) may lake
more coniral i in encouraginig parties to ‘sete, Setilement conteferices take place at the:
courthoilsa. All cases have é a Lmatidalory Sertlerdeni eonterencs: ‘Approximately aa weeks before
the triaf’ dale, : -

aS at .
3 .

Pag tals

Appropriate Dispute Regdlution tnlocmation Sheet .
Farm adopled lor Mandatory Use? ‘ (GA Rate of Coun 93.229]

Local Coun Form ADA-GV-8 [New Semembzr, ‘a wt SAND NEIULOLY

pt

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) )
« in San Meteo County?

How Does Voluntary Mediation/Neutral Evaluation Wor
his ADR Information Sheet

s the lawsuit (the plaintif) must include t

g the defendants in the case.

2 al your first Case Management

he filing of the complaint, The judge
ADA and esk

ee The person who file
with the complaint when servin

a All the partlesin your case will meet with a judg
Conference (GMC), which is scheduled within 120 days oi ti
will speak to you about your voluntary ADA options, encourag? you lo panicipate in
you lo meet valn Court AOR stafi.

2 i youand the panies decid
Stipulation and Order to ADA wiih the Court Clare
whom you hve selected es yaur ADA neutral and the da
2  Youand the other parties can find your own ADA neutral

wha fs on the Gourt’s ADR Panet.
0 For alist of Court ADR neutrals and thair resumes,

eayw.sanmateacourt.orafadt. (Go to *Givil ADA Program,” “Civil AD

List” and click on any provider's name.
2 lf you decida lo do ADR ard fife a Stipulation and Order to ADR at least 10 days belore
90 days to allow the parties

your first CMC, the Court will postpone (continue) your first CMC far
time to resolve the case using ADR, The Clerk's Olfice will sand you ze notice with your new

CMC dete.
e Within 40 days of completing AOA, you and your lawyer (if you have ane) must fill out
aither an Evaluailon By Atiorneys oF Client Evaluation and mait or fex it to the ADR offices al:
40 County Center, Gaurrcom ar, Redwood (680) 599-1754 fiaxl.

Do I Have to Pay to Use ADR?

DR neu al directiy, However, you do nat
ndaory settlement conference

i)(2) siates (hat you must file a

e to use ADA, Local Rule 2.3(
know bain

5 Ofiice. This torm lets the Coun
te of the ADR session.

for the case or use 4 neutral

visit the Court's websile at
A Progrem Panelist

City, CA 2895)
!

~@ Yes. You and the other parties will pzy the A
have to pay tha Court for either judicial arbitration or for the ma
thatis scheduled belore your tial.

2 if you expect.te have difficulty paying ihe ADA provider's fae, esk the ADR Coordinator
fara finencialeid-epplication. You will need to fill out. this applidationte delermine whether or rot
you quality for financial assistance. :

munity mediation orgenization, the
d by PCRC's panel of

arties also can teke their case ta the com
and.feas; contact

In San Matgo Gounly, P
., Peninsula Céntlict Reselution Center (PCAC*}end have their case mediate
ipsipectend axoadaoced’ untsermediators: To learvmore eboul programs"

PCAG's Manager ot Mediatian Programs at (5547 94 SOSSc;

wee emene eee

For more information, visit ihe court website at vaww.senmeleocourLord/adr or coniact the
Mulli-Option ADR Project: 400 County Center, Courtroom 2F, Redwood City, CA 84063.
(650) 599-1754

(650) 529-1070, (650) 463-4148-1 fax:
Paga2a3

Appropriate Dispule Resolution Information Sheet
Form acs pted bor Pare ator) Usa [Ca Feta ot Goust 42,221] Local Coun Zorm ADRES {New Sapte metoer, 2010] wre edema PRU OD

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ou A A BB oO DP = SF Ge BaunsrtEGH

Case 3:19-cv-00344-RS Document 1-2

Arlo Garcia Uriarte, SBN 231764
Un Kei Wu, SBN 270058
Emesto Sanchez, SBN 278006
Daniel P. Iannitelli, SBN 203388

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Facsimile: (415) 695-1006

Attomeys for Plaintiffs
ELIAS YAMIDO, MARK SIBAYAN
and THELMA YAMIDO

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ENDORSED FILED
SAN MATEO COUNTY
DEC 14 2018
Clerk of the Supertor Court

By: ANTONIO R. GERONIMO
Deputy Clerk,

SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF SAN MATEO-— UNLIMITED JURISDICTION

ELIAS YAMIDO, MARK SIBAYAN
and THELMA YAMIDO, on behalf of
themselves, others similarly

situated and the general public,

Plaintiffs,
vs.

FLYING FOOD GROUP, LLC and
DOES 1-10, inclusive,

Defendants.

Case Number: 18 C | V 0 6 6 96

CLASS ACTION COMPLAINT

(1) FAILURE TO PAY ALL HOURS
WORKED

(2) FAILURE TO PAY OVERTIME
COMPENSATION

(3) FAILURE TO PAY
COMPENSATION FOR MEAL
PERIOD VIOLATIONS

(4) FAILURE TO PAY
COMPENSATION FOR REST
PERIOD VIOLATIONS

(5) WAGE STATEMENT VIOLATIONS

(6) FAILURE TO PROVIDE PAID SICK

- DAYS

(7) FALLURE TO REASONABLY
PERMIT USE OF SEATS

(8) WAITING PENALTIES

(9) PRIVATE ATTORNEY GENERAL
ACT, CAL. LAB. CODE § 2698, ET
SEQ.

(10) UNFAIR COMPETITION IN
VIOLATION OF CAL, BUSINESS .
AND PROFESSIONS CODE §§ 17200,

ET. SEQ.

JURY TRIAL DEMANDED

Class Complaint: Elias Yamido, Mark Sibayan and Thelma Yamido v. Flying Food Group, LLC

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Plaintiffs ELLAS YAMIDO, MARK SIBAYAN and THELMA YAMIDO (collectively,
“PLAINTIFFS”) submit this class complaint on behalf of themselves and on behalf of others
similarly situated, as follows:

 L_INTRODUCTION & JURISDICTION

1. This class action is instituted for the purpose of prosecuting claims under
California Labor Code (“Labor Code”) §§ 201-204, 221, 223, 226.7, 246, 351 and 2698, ef seq.,
Califoria Business and Professions Code (“Bus. & Prof. Cade”) §§ 17200, et seq., (Unfair
Practices Act), Labor Code §§2698, ef seq. (Private Attorney General Act of 2004 or the
“PAGA”) and Cal. Code Regs., tit. 8, § 11050 (“Wage Order No. 5”). Wage Order No. 5 is the
wage order that applies to the industry that DEFENDANTS are engaged in.

2. This class complaint challenges systemic illegal employment practices by
Defendant FLYING FOOD GROUP, LLC (“FFG”) and DOES 1-10 (“DOE DEFENDANTS”),
inclusive (collectively, “DEFENDANTS’) resulting in violations of the Labor Code, Bus. & Prof.
Code and Wage Order No. 5.

3. PLAINTIFFS are informed and believe and based thereon allege that

‘DEFENDANTS have engaged in among other things, a system of willful violations of the Labor

Code, Bus. & Prof. Codé and Wage Order No. 5 by creating and maintaining policies, practices,

and customs that knowingly deny employees, such as PLAINTIFFS and putative class members:

_ (1) wages for all hours worked; (2) overtime compensation, (3) meal periods and compensation

for denied meal periods; (4) rest periods and compensation for denied rest periods; (5) accurate,
itemized wage statements; (6) waiting time penalties; (7) paid sick days and (8) reasonable use of
seats.

4. Jurisdiction is proper in this Court because the alleged damages exceed
$25,000.00.

5. Venue is proper because the events and transactions which are the subject of this

class action occurred in San Mateo County, State of California.

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I, PARTIES

6. PLAINTIFFS are competent individuals who are current or former full-time
hourly paid, non-exempt employees of DEFENDANTS.

' 7, DEFENDANT FFG is a Delaware limited liability company headquartered in
Chicago, II and authorized to do business in the State of California. FFG is in the business of _
airline and non-airline catering with operations in more than a dozen locations in the United
States. FFG conducts business operations, and maintains 2 offices in Burlingame, CA.

8. PLAINTIFFS are ignorant as to the true names and capacities of the defendants
sued herein as DOE DEFENDANTS and therefore sue these by such fictitious names and
capacities. PLAINTIFFS will seek leave of court to amend this class complaint and include the
actual names of these fictitiously named DOE DEFENDANTS, if or when they are ascertained.

9. DEFENDANTS are, at all relevant times, the employer of PLAINTIFFS who are
bound by the Labor Code, the Bus. & Prof. Code and Wage Order No. 5.

10. At alf relevant times, DEFENDANTS exercise(d) direct control over the wages,
hours, and working conditions of PLAINTIFFS.

11. Atall relevant times, the actions of PLAINTIFFS’ supervisors, managers, and/or.
other employees of FFG were ratified by DEFENDANTS and that the employees, owners,

supervisors, agents, and managers of FFG acted within the course and scope of their employment.

Il, CLASS ACTION ALLEGATIONS

Definition: PLAINTIFFS bring this action on behalf of themselves and a putative class of
similarly situated employees pursuant to Califomia Code of Civi | Procedure § 382. The putative

class is defined as:

“Ail current and former hourly or non-exempt employees of
DEFENDANTS who worked in the State of California at any time
from four (4) years preceding the date of filing of this action through
the entry of final judgment in this action (“Class Period”).”

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12, Numerosity and Ascertainability: The members of the class are so numerous that
joinder of all members would be impractical, if not impossible, PLAINTIFFS are informed and
believe that there are over 500 employees working for DEFENDANTS, more than half in
California. The identity of putative class members is readily ascertainable by review of
DEFENDANTS’ records. Notice can be provided to DEFENDANTS’ employees using
techniques and a form of notice similar to those customarily used in class action lawsuits.

13. PLAINTIFFS and putative class members were denied and are continuously being
denied by DEFENDANTS compensation for: (1) all hours worked (at regular and overtime rates),
(2) missed or inadequate meal periods; and (3) missed or inadequate rest periods. As a result,
PLAINTIFFS and putative class members are owed all unpaid compensation plus interest and
applicable penalties.

14. PLAINTIFFS and putative class members were denied and are continuously being
denied by DEFENDANTS of paid sick days and reasonable use of seats which is permitted by
their nature of work.

15. Adequacy of Representation: PLAINTIFFS are members of the putative class

identified above. PLAINTIFFS do not have any known conflicts of interest with other putative

class members; they will prosecute the case vigorously, not just for themselves, but for the overall

benefit of the putative class. PLAINTIFFS will fairly and adequately represent and protect the
interests of putative class members. PLAINTIFFS’ counsel is competent and experienced in
litigating wage and hour class actions.

16. Superiority of Class Action: A class action is superior to all other available
means of fair and efficient adjudication of this controversy. Individual joinder of all putative class
members is not practicable, and questions of law and fact common to the putative class
predominate over any questions affecting only individual members of the class. DEFENDANTS’
employees have been damaged and are entitled to recovery because of DEFENDANTS’ unlawful
policies and/or practices described herein. Because the damages suffered by individual putative
class members may be relatively small, albeit significant, the expense and burden of individual

litigation make it impractical for most putative class members to seek individual redress for the

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wrongful conduct alleged. Class action treatment will allow those similarly situated persons to ,
litigate their claims in the manner that is most efficient and economical for the parties and the
Judicial system.

17. The Labor Code and Wage Order No. 5 are broadly remedial in nature. These laws
and labor standards serve an important public interest in establishing minimum working
conditions and standards in California, These laws and labor standards protect the average
working employee from exploitation by employers who may seek to take advantage of superior
economic conditions and bargaining power in setting onerous terms and conditions of
employment.

18. The nature of this action and the format of laws available to PLAINTIFFS and |
members of the putative class identified herein make the class action format a particularly
efficient and appropriate procedure to redress the wrongs alleged herein. If each employee were
required to file an individual lawsuit, DEFENDANT FFG, a limited liability company, would

necessarily gatn an unconscionable advantage since it would be able to exploit and overwhelm

“the limited resources of each individual plaintiff with its vastly superior financial and legal

resources, Requiring each putative class member to pursue an individual remedy would also
discourage the assertion of lawful claims by employees who would be disinclined to file an action
against their former and/or current employer for real and justifiable fear of retaliation and
permanent damage to their careers.

19, The prosecution of separate actions by individual putative class members, even if
possible, would create a substantial risk of (a) inconsistent or varying adjudications with respect
to individual putative class members against the DEFENDANTS, which would establish
potentially incompatible standards of conduct for the DEFENDANTS, and/or (b) adjudications
with respect to individual putative class members which would, as a practical matter, be
dispositive of the interest of the other putative class members not parties to the adjudications or
which would substantially impair or impede the ability of DEFENDANTS’ aggrieved employees

to protect their interests. Further, the claims of the individual members of the putative class are

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not sufficiently large to warrant vigorous individual prosecution considering all of the
concomitant costs and expenses.

20. Common Question of Law and Fact: There are questions of law and fact
common to putative class members that predominate over any questions affecting only individual

members of the class. These common questions of law and fact include, but are not limited to:

a. Whether DEFENDANTS have failed to compensate PLAINTIFFS and putative
class members for all hours worked;

b. Whether DEFENDANTS have failed to comperisate PLAINTIFFS and putative
class members for alt hours worked at the correct overtime rates where applicable;

c. Whether DEFENDANTS have failed to provide compensation to PLAINTIFFS
and putative class members who were not provided meal periods in accordance with
applicabte law,

d. Whether DEFENDANTS have failed to provide compensation to PLAINTIFFS
and putative class members who were not provided rest periods in accordance with
applicable law;

e. Whether DEFENDANTS have provided accurate and lawful wage statements to
PLAINTIFFS and putative class members or have failed to do so because of the violations
alleged herein:

f, Whether DEFENDANTS failed to provide PLAINTIFFS and putative class
members paid sick days;

g. Whether DEFENDANTS failed to reasonably permit use of seats to PLAINTIFF
Thelma Yamido and similarly situated members of the putative class; and

h. Whether DEFENDANTS owe waiting time penalties to separated PLAINTIFFS
such as PLAINTIFFS Mark Sibayan and Thelma Yamido and similarly situated putative
class members for failure to provide the compensations described herein.

21. Typicality: PLAINTIFFS’ claims are typical when compared to the potential

claims of all putative class members. PLAINTIFFS complain of the same exact types of

violations allegedly ‘suffered by the putative class. The main differences only relate to the extent

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of damages suffered. PLAINTIFFS are members of the putative class and have suffered the

alleged, class-wide violations described herein.

IV. STATEMENT OF FACTS

22, PLAINTIFFS and putative class members are current or former employees
assigned to different departments at DEFENDANTS’ location at 810 Malcolm Road, Burlingame,
CA 94014 (“Malcolm Rd. location”).

23, PLAINTIFF Elias Yamido (“ELIAS”) is a current full-time porter assigned to the
warehouse/dish room department. He started working for DEFENDANTS on or about August | 2,
2016.

24. Asa porter, PLAINTIFF ELIAS performs work on the 1" and 2™ floors of the
main building at the Malcolm Rd. location, On the 2™ floor, PLAINTIFF ELIAS covers the
following areas: the cafeteria, offices, and the men’s and ladies’ rest rooms. On the ground floor,
PLAINTIFF ELIAS works in the kitchen, storage, and dumpster area. PLAINTIFF ELIAS
performs various tasks: detailed cleaning of the men’s and ladies’ rest rooms; replenishing
supplies, picking up cooked food from the kitchen to take up to the cafeteria to be served, picking
up from the dishwashing room fresh plates, utensils, and trays to be used in the cafeteria, clean
and keep tidy 17 tables in the cafeteria after every use; vacuum floors of 6 offices; and clean the
warehouse. During his shift, PLAINTIFF ELIAS is the only porter charged with these tasks, The
porter who takes over for PLAINTIFF ELIAS after his shift covers the same areas and performs
the same tasks.

25, PLAINTIFF Mark Sibayan (“SIBAYAN’) is a former full-time beverage
assembler assigned to the assembly/equipment liquid set up department. He worked for
DEFENDANTS from on or about June t!, 2016, up to December 23, 2016.

26. As beverage assembler, PLAINTIFF SIBAYAN worked at different beverage

assembly areas in the main building at the Malcolm Rd. location. The assembly areas are in the

basement and 2" floor, while the transportation area to load the assembled beverage carts and

boxes is on the |" floor. For each shift, there are 2-3 beverage assemblers. At the start of their

shifts, beverage assemblers are given airline assignments which determine the number of
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beverage carts and boxes to prepare (approximately between 25 to 50) and the location of the
assembly areas to work at. PLAINTIFF SIBAYAN and his fellow assemblers gathered clean carts
that they need from the dishwashing area on the 2" floor. With 25 to 50 carts in tow,
PLAINTIFF SIBAYAN and similarly situated putative class members proceeded to the
designated assembly area for the day. After assembling, PLAINTIFF SIBAYAN took the
assembled carts and boxes to the transportation areas on the ground floor for loading to delivery
trucks,

27, PLAINTIFF Thelma Yamido (“THELMA”) is a former full-time station attendant
(food preparer) assigned to the food production department. PLAINTIFF THELMA worked for
DEFEDANTS from on or about August 12, 2016, up to on or about May 24, 2017.

28. Asa food preparer, PLAINTIFF THELMA worked primarily at the food
production area located on the ground floor of the main building at the Malcolm Rd. location, In
her shift, PLAINTIFF THELMA worked with about 50 food preparers, each tasked with
preparing 15-20 trays of food consisting of a main coutse, salad, fruits, and dessert. At the start of
their shifts, food preparers attend daily meetings where they are given the menu for the day. After
the meeting, PLAINTIFF THELMA gathered fresh trays and plates from the dishwashing room
on the 2™ floor to use in preparing food. PLAINTIFF THELMA then procured frozen entrées and
raw materials (such as vegetables and fruits and other ingredients) from the freezer area/pantry
and starts preparations (/.¢., thawing and microwaving of frozen entrées, cooking and baking,
peeling and slicing of vegetables and fruits). Throughout the food preparation, PLAINTIFF
THELMA and similarly situated putative class members worked on their feet. After finishing
their assigned 15-20 trays, PLAINTIFF THELMA and the other food preparers are required to
assist others if they are behind and need to finish. Because of their hectic work schedules.

29, DEFENDANTS, as a matter of policy and practice, utilize a rounding system to
calculate the daily compensation owed to PLAINTIFFS and putative class members.
DEFENDANTS?’ use of rounding operates to underpay putative class members in the aggregate
and is therefore unlawful. PLAINTIFFS and putative class members are owed wages at regular

and overtime rates because of DEFENDANTS’ unlawful rounding policy and practice.

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30. Due to their heavy workload (i.¢., numerous tasks sometimes to be performed at
multiple locations), hectic assignments (i.¢., multiple airlines to prepare food and beverage for),
shorthandedness of staff (i.e., there are no relievers to cover employees who need to go on meal
period or rest period) and other constricting situations (é.¢., if food is ready in the cafeteria or if
the cafeteria itself is already open), PLAINTIFFS and putative class members are not able to take
their meal periods in a timely, complete, and proper manner, DEFENDANTS had no policy to
pay PLAINTIFFS and putative class members meal period compensation.

31. PLAINTIFFS and putative class members do not get their rest periods for the same
reasons listed above regarding meal period violations: their workloads are heavy; their work
assignments are hectic, and the staff is almost always shorthanded. PLAINTIFFS and putative
class members barely have time to take restroom breaks, let alone take full meal periods and rest
breaks. DEFENDANTS did not have a policy to pay PLAINTIFFS and putative class members
rest break compensation.

32. The wage statements issued by DEFENDANTS are inaccurate because of the
rounding policy and practice and because the additional compensation due to PLAINTIFFS and
putetive class members for meal and rest period violations are not reflected in the wage
statements.

33. PLAINTIFFS and similarly putative class members started working for
DEFENDANTS after July 1, 2015 and have worked for DEFENDANTS for 30 or more days
within a year from the commencement of their employment. In view of these, PLAINTIFFS and
similarly situated putative class members are entitled to paid sick days. However,
DEFENDANTS failed to provide PLAINTIFFS and putative class members paid sick leaves.

34. The nature of PLAINTIFF THELMA'’S work reasonably permitted use of seats.
However, throughout PLAINTIFF THELMA’'S shift, she and similarly situated current and
former food preparers stand while working. DEFENDANTS fatled to reasonably permit
PLAINTIFF THELMA and similarly situated putative class members to use seats while working.

35. | Putative class members who are no longer employed by DEFENDANTS, like
PLAINTIFS SIBAYAN and THELMA, are owed waiting time penalties because upon their

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separation, they were not paid all the monies and compensations owed to them including wages,
overtime compensation, and meal and rest period compensations.
V. CLAIMS FOR RELIEF
FIRST CAUSE OF ACTION

_ (Unpaid Wages)
By PLAINTIFFS and Putative Class Members against DEFENDANTS

36, PLAINTIFFS reallege and incorporate by reference the allegations of paragraphs
above.

37. Pursuant to Wage Order No. 5 and Labor Code §§ 204, 500 and 1194,
DEFENDANTS are required to compensate PLAINTIFFS and putative class members for all
hours worked.

38. Asaresult of DEFENDANTS’ unlawful rounding policy, DEFENDANTS have
failed to pay PLAINTIFFS and putative class members for all hours worked.

39, PLAINTIFFS request relief as described below.

SECOND CAUSE OF ACTION
(Unpaid Overtime Compensation)
By PLAINTIFFS and Putative Class Members against DEFENDANTS

40. PLAINTIFFS reallege and incorporate by reference the allegations of paragraphs
above. .

41. Asaresult of DEFENDANTS’ unlawful rounding policy, PLAINTIFFS and
putative class members have been deprived overtime compensation in an amount to be
determined at trial, and are entitled to recovery of such amounts, plus interest thereon, under
Labor Code § 1194.

42. Pursuant to Wage Order No. 5 and Labor Code §§ 500, 510, and 1194,

PLAINTIFFS and putative class members are owed overtime compensation for all overtime hours

work,

43, PLAINTIFFS request relief as described below.

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THIRD CAUSE OF ACTION
(Failure to Pay Compensation for Meal Period Violations)
By PLAINTIFFS and Putative Class Members against DEFENDANTS

44. PLAINTIFFS reallege and incorporate by reference the allegations of paragraphs
above.

45. Pursuant to Labor Code § 226.7(a) and Wage Order No. 5, DEFENDANTS are
required to authorize and permit employees such as PLAINTIFFS and putative class members
uninterrupted meal periods of 30 minutes for work periods exceeding 5 hours and a second
uninterrupted meal period of 30 minutes for work periods exceeding 10 hours. Furthermore, meal
periods must be provided in a timely fashion.

46. DEFENDANTS fail and refuse to authorize or permit PLAINTIFFS and putative
class members adequate 30-minute meal periods in violation of Labor Code § 226.7(a) and Wage
Order No. 5.

47. DEFENDANTS further violate the aforementioned California statutes and orders
by failing to pay PLAINTIFFS and putative class members one (1) hour of pay at their regular
rate of pay for each work day that meal periods were required but not provided.

48. DEFENDANTS have no established policy or practice to track meal period
violations or to pay meal period compensation when required

49. PLAINTIFFS request relief as described below.
FOURTH CAUSE OF ACTION
(Failure to Pay Compensation for Rest Period Violations)
By PLAINTIFFS and Putative Class Members against DEFENDANTS

50. PLAINTIFFS reallege and incorporate by reference the allegations of paragraphs
above.

51, Pursuant to Labor Code § 226.7(a) and Wage Order No. 5, DEFENDANTS are
required to authorize and permit employees such as PLAINTIFFS and putative class members the
opportunity to take rest periods based upon total hours worked, at a rate of 10 minutes net rest

time per 4 hours worked or major fraction thereof, with no deduction from wages.

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$2, DEFENDANTS fail and refuse to authorize, and permit PLAINTIFFS and putative
class members 10-minute rest periods for every four (4) hours worked, or major fraction thereof,
in violation of Labor Code § 226.7(a) and Wage Order No. 5.

53. DEFENDANTS violated Labor Code § 226.7(a) and Wage Order No. 5 by failing
to pay PLAINTIFFS and putative class members one (1) hour of pay at their regular rate of pay
for each work day rest periods are required but not provided.

54. DEFENDANTS have no established policy or practice to track rest period
violations or to pay rest period compensation when required _

55. PLAINTIFFS request relief as described below.

FIFTH CAUSE OF ACTION

_ (Wage Statement Violations)
By PLAINTIFFS and Putative Class Members against DEFENDANTS

56. PLAINTIFFS reallege and incorporate by reference the allegations of paragraphs
above.

57, DEFENDANTS fail to issue PLAINTIF FS and putative class members accurate
itemized wage statements that properly and accurately itemize the number of hours worked and
the actual payment due in violation of Labor Code § 226(a) and Wage Order No. 5.

58. DEFENDANTS knowingly and intentionally fail to comply with Labor Code §
226(a) and Wage Order No. 5 causing damages to PLAINTIFFS and putative class members.

59. These damages are difficult to estimate. Therefore, PLAINTIFFS elect to recover

liquidated damages of $50.00 for the initial pay period in which the violation occurred and

$100.00 for each violation in subsequent pay periods, pursuant to Labor Code § 226(e), up to the
statutory maximum amount of $4,000.00, plus reasonable attorneys’ fees and costs.
60. PLAINTIFFS request further relief as described below.
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SIXTH CAUSE OF ACTION
(Failure to Provide Paid Sick Days)
By PLAINTIFFS and Putative Class Members against DEFENDANTS

61. PLAINTIFFS reallege and incorporate by reference the allegations of paragraphs
above.

62. Labor Code § 246 (a)(1)} provides that “(A)n employee who, on or after July I,
2015, works in California for the same employer for 30 or more days within a year from the
commencement of employment is entitled to paid sick days as specified in this section.”

63. PLAINTIFFS and similarly situated putative class members started working for
DEFENDANTS after July |, 2015 and have continued working for DEFENDANTS for 30 or
more days within a year from the commencement of their employment. PLAINTIFFS and
similarly situated putative class members are therefore entitled to paid sick days.

64. DEFENDANTS failed to provide paid sick days to PLAINTIFFS and similarly
situated putative class members,

65. PLAINTIFFS and putative class members request further relief as described

below.
SEVENTH CAUSE OF ACTION
(Failure to Reasonably Permit Use of Seats)
By PLAINTIFF THELMA and Similarly Situated Putative Class Members
Against DEFENDANTS
66. PLAINTIFF THELMA realleges and incorporates by reference the allegations of
paragraphs above.

67, Wage Order No. 5 § 14(A) provides that “(A)lI working employees shafl be
provided with suitable seats when the nature of work reasonably permits the use of seats.”

68. Throughout PLAINTIFF THELMA’S shift, she and similarly situated current and
former food preparers were standing while working, while the nature of their work reasonably

permitted the use of seats.

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69. DEFENDANTS failed to allow and provide PLAINTIFF THELMA and similarly
situated current and former food preparers suitable seats in violation of Wage Order No. 5 §14.
70. PLAINTIFFS request further relief as described below.
EIGHTH CAUSE OF ACTION

(Waiting Time Penalties)
By PLAINTIFFS SIBAYAN and THELMA and Similarly Situated Putative Class Members
against DEFENDANTS
71. PLAINTIFFS SIBAYAN and THELMA realleges and incorporates by reference
the allegations of paragraphs above.
72. PLAINTIFF SIBAYAN quit working for DEFENDANTS on or about December
23, 2016 while PLAINTIFF THELMA resigned on or about May 24, 2017.
73. Labor Code § 20! requires an employer who discharges an employee to pay all
compensation due to that employee immediately upon discharge.
74. Labor Code § 202 requires an employer to pay all compensation due to employees
who quit within 72 hours of that employee quitting, unless the employee provides at least 72

hours’ nolice of quilting, in which case all compensation is due at dhe end of Uie enpluyee’s final

day of work.

75. Labor Code § 203 provides that if an employer willfully fails to pay compensation
as required by § 201 or § 202, then the employer is liable for waiting time penalties in the form of
continued compensation of up to 30 work days.

76. DEFENDANTS willfully failed and refused to timely pay compensation to
separated Plaintiff Reyes and putative class members at the end of their employment.

77. Asaresult, DEFENDANTS are liable to PLAINTIFFS SIBAYAN and THELMA
and similarly situated putative class members for waiting time penalties, together with interest
thereon under Labor Code § 203.
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NINTH CAUSE OF ACTION
(Civil Penalties Pursuant to Private Attorney General Act)
(Labor Code $§ 2698, ef seq.)
By PLAINTIFFS and Putative Class Members Against DEFENDANTS

78. PLAINTIFFS reatlege and incorporate by reference the allegations of paragraphs
above.

79. Pursuant to the PAGA, the foregoing violations of statutes and regulations permit
PLAINTIFFS to recover civil penalties through this action, The PAGA imposes a civil penalty of
one hundred dollars ($100) per pay period, per aggrieved employee for initial violations, and two
hundred ($200) per pay period per aggrieved employee for subsequent violations for all Labor
Code provisions for which a civil penalty is not specifically provided.

80. DEFENDANTS’ violations of California wage and hour laws enable
PLAINTIEFS to recover civil penalties as aggrieved employees on behalf of themselves and other
current and former employees of DEFENDANTS.

81. PLAINTIFFS have complied with the procedural requirements specified in Labor
Code §2699,3. PLAINTIF FS have therefore exhausted all administrative procedures required
under Labor Code §§2698, 2699 and 2699.3, and are justified as a matter of right in bringing
forward this cause of action.

82. On August 1, 2018, PLAINTIFES, through counsel, pursuant to the PAGA, sent
via certified mail a letter-notice of violations to the LWDA, as required by Labor Code §2699.3.
A copy of this letter-notice is attached to this Complaint as Exhibit “A.”

83. Sixty-five (65) calendar days have passed since the postmark date of
PLAINTIFFS’ notices and the LWDA has not notified PLAINTIFFS’ counsel that it does not
intend to investigate the allegations. Pursuant to Labor Code §2699.3 (a)(2)(A), PLAINTIFFS
may commence a civil action pursuant to Labor Cade §2699. .

84. Asaresult of DEFENDANTS’ violation of numerous provisions of the Labor
Code, PLAINTIFFS seek all civil penalties, reasonable attomey’s fees and costs available

pursuant to Labor Code §2699.

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85. PLAINTIFFS are likely to have evidentiary suppor, after research and reasonable
opportunity for further investigation and discovery, to further prove penalties and violations.
PLAINTIFFS will amend this complaint if appropriate and required to seek all applicable:
penalties for violations which the LWDA has failed to investigate and/or failed to issue a citation,

86. Pursuant to Labor Code §2699(i), PLAINTIFFS, as aggrieved employees on
behalf of themselves and other current and former employees of DEFENDANTS, should be
awarded twenty-five percent (25%) of all penalties due under California law, interest, attorneys’
fees and costs. The LWDA should be awarded seventy-five percent (75%) of the penalties due
and awarded.

TENTH CAUSE OF ACTION
(Unfair Competition in Violation of Cal. Business and Professions Code §§ 17200 et. seq.)
By PLAINTIFFS and Putative Class Members
against DEFENDANT FLYING FOOD GROUP, LLC
87. PLAINTIFFS reallege and incorporate by reference the allegations of paragraphs
above.

88. Bus. & Prof. Cade § 17200, el seq. prohibit acts of unfair competition including
any “unlawful and unfair business practices.”

$9. Theconduct of DEFENDANT FEG, as alleged herein, has been and continues to
be unfair, unlawful, and deleterious to PLAINTIFFS and putative class members and to the
general public.

90. PLAINTIFFS hereby seek to enforce important rights affecting the public interest
within the meaning of Code of Civil Procedure § 1021.5. PLAINTIFFS are “persons” within the
meaning of Bus. & Prof. Code § 17204 and therefore have standing to bring this suit for
injunctive relief and restitution. -

91. The prompt and proper payment of wages is a fundamental public policy of the

State of California. It is also the public policy of the State to enforce minimum labor standards

- ensuring that employees are not required or permitted to work under substandard and unlawful

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conditions and to protect those employers who comply with the law from losing competitive
advantage to other employers that fail to comply with labor standards and requirements.

92. Through the conduct alleged herein, DEFENDANT FFG acted contrary to these
public policies and have thus engaged in unlawful and/or unfair business practices in violation of
Bus, & Prof. Code §§ 17200, er seq. depriving PLAINTIFFS and putative class members the
rights, benefits, and privileges guaranteed to employees under California law.

93. DEFENDANT FFG regularly and routinely violated the statutes and regulations
referenced herein with respect to PLAINTIFFS and its other employees.

94, By engaging in these business practices, which are unfair and unlawful within the
meaning of Bus. & Prof. Code §§ 17200 et. seq., DEFENDANT FFG harms PLAINTIFFS and
putative class members and the general public and have gained an unfair competitive edge.

95. Under Bus. & Prof. Code § 17203, PLAINTIFFS are entitled to obtain restitution
on behalf of putative class members similarly affected by the unfair and/or unlawful business
practices as set forth herein.

96. Pursuant to Bus. & Prof. Code §-17202, PLAINTIFFS are entitled to specific relief

_ enforcing the penalty provisions of various Labor Code sections for themselves and for members |

of the general public in amounts to be proven at trial. Failure to enforce the penalties due would”
result in the unlawful enrichment of DEFENDANT FFG and would promote unfair competition.

97. Pursuant to Bus. & Prof. Code § 17203, injunctive relief is necessary to prevent
DEFENDANT FFG from continuing to engage in the unfair business practices as alleged herein.

98. PLAINTIFFS allege, on information, and belief that DEFENDANT FFG and
persons acting in concert with them, have committed and will continue to commit the above-
described unlawful and/or unfair acts unless restrained or enjoined by this Court. Unless the relief
prayed for below is granted, a multiplicity of actions will result, PLAINTIFFS and other
interested persons have no plain, speedy, or adequate remedy at law, in that pecuniary
compensation alone would not afford adequate and complete relief. The above-described acts will
cause great and irreparable damage to PLAINTIFFS and other interested persons unless

DEFENDANT FFG is restrained from committing further illegal acts.

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Class Complaint: Elias Yamido, Mark Sibayan and Thelina Yamido vw. Fiving Food Group, LLC

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99. PLAINTIFFS’ success in this action will result in the enforcement of important
rights affecting the public and will confer a significant benefit upon the general public. Private
enforcement of the rights enumerated in this Complaint is necessary, as public agencies have only
sought limited enforcement of those rights, if any. The named PLAINTIFFS individually, and by
and through counsel, are incurring a financial burden in pursuing this action on behalf of the .
general public. PLAINTIFFS seek to enjoin the above-referenced unlawful actions under
California’s Labor Code Industrial Welfare Commission Wage Orders. Therefore, PLAINTIFFS
seek an award of attorneys’ fees and costs of suit on this Cause of Action pursuant to California
Code of Civil Procedure § 1021.5 and other applicable laws.

PRAYERS FOR RELIEF

WHEREFORE, PLAINTIFFS on their own behalf and on behalf of the putative class

members, respectfully pray for judgment as follows:

{. For an order certifying the proposed class;

2. For compensatory and consequential damages, according to proof;

3, Pursuant to Wage Order No. 5 and Labor Code §§ 510 and 1194(a), an award in the
amount of unpaid wages and overtime compensation owed by DEFENDANTS for the four (4)
years preceding the filing of this complaint, plus interest;

4. For compensation of one (1) hour at the regular rate of pay for each day meal periods
and/or rest periods were denied in violation of Labor Code § 226.7 and Wage Order No. 5,
according to proof;

5. DEFENDANTS be ordered to show cause why they should not be enjoined and

ordered to comply with Wage Order No. 5 related to meal and rest periods; and for an order

enjoining and restraining DEFENDANTS and their agents, servants and employees from further
violating Wage Order No. 5;

6. For unpaid sick days in violation of Labor Code § 446, according to proof,

7. For civil penalties provided for in Labor Code § 1199 for violation of Wage Order

No. 5 § 14(A);

18

Class Complaint: Elias Yamido, Mark Sibayan and Thelma Yamido v. Flying Food Group, LLC

Case 3:19-cv-00344-RS Document 1-2 Filed 01/18/19 Page 37 of 51

8. For statutory damages according to proof including wage statement violations
pursuant to Labor Code § 226(a) and Wage Order No. 5;

9, DEFENDANTS be ordered to show cause why they should not be enjoined and
ordered to comply with Wage Order No. 5 related to record keeping for DEFENDANTS’
employees related to same; and for an order enjoining and restraining DEFENDANTS and their
agents, servants and employees from further violating Wage Order No. 5;

10. For waiting time penalties pursuant to Labor Code §§ 201-203;

11. Statutory penalties under Labor Code § 558;

12. Pursuant to Bus. & Prof. Code § 17203, an award of restitution for the unjustly
amounts eared or retained DEFENDANTS by virtue of their engaging in unlawful conduct,
according to proof;

13. An award of twenty-five percent (25%) of all penalties due under California law,
interest, attorneys’ fees and costs to PLAINTIFFS as aggrieved employees on behalf of
themselves and other current and former employees of DEFENDANTS, pursuant to Labor Code
§2699(i) and.an award of seventy-five percent (75%) of the penalties in favor of the LWDA;

14. For an injunction to prohibit DEFENDANT FFG to engage in the unfair business
practices complained of herein;

15. For pre-judgment interest as allowed by Labor Code § 218.6 and Civil Code §
3287;

16. For reasonable attorney’s fees and costs made payable to the Liberation Law
Group, P.C., pursuant to applicable laws;

17. For such other and further relief as the Court deems just and proper.

Dated: December 14, 2018 LIBERATION LAW GROUP, P.C.
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y:
Arlo Garcia Uniarte
Attorneys for Plaintiffs

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Class Complaint: Elias Yamido, Mark Sibayan and Thelma Yamido v., Flying Food Group, LLC

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JURY DEMAND

PLAINTIFFS hereby demand a trial by jury.
DATED: December 14, 2018 LIBERATION LAW GROUP, P.C.

Arlo Garcia Uriarte
Attorneys for Plaintiffs

By:

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Class Complaint: Elias Yamido, Mark Sibayan and Thelma Yamido v. Flving Food Group, LLC

Case 3:19-cv-00344-RS Document 1-2 Filed 01/18/19 Page 39 of 51

EXHIBIT A

Case 3:19-cv-00344-RS Document 1-2 Filed 01/18/19 Page 40 of 51

Arlo Garcia Uriarte BERA I ON Legal Assistanvs:
Un Kei Wu Andrea Ortiz
Ernesto Sanchez LAW GROUP, PC Lorenzen mn Cruz

icent Uriarte

Daniel P. fannitelli .
Jonathan S. Rebong Ivette Olguin

Nick Aguilar, Adm. in Fla. Mariana Toledo Segarra
Alejandro Quiroz, Adm. in CR Crystina Arreola-Nunez
Luiseth Contreras, Adm. in VZ Data Analyst:
Elizabeth Lyons, JD Candidate . Kristoffer Solomon

2760 Mission Street -San Francisco, CA 94110 - (415) 695 = 1000 - (415) 695-1006 FAX

August 1, 2018,
VIA ELECTRONIC SUBMISSION

Attn. PAGA Administrator
1515 Clay Street, Ste. 801
Oakland, CA 94612
PAGA@dir.ca.gov

Re: Elias Yamido, Mark Sibayan and Thelma Yamido y.
: Flying Food Group, LLC

Dear PAGA Administrator:

Pursuant to California Labor Code’s Private Attorneys General Act of 2004, Plaintiffs
Elias Yamido, Mark Sibayan, and Thelma Yamido (collectively, “Plaintiffs”) apply to recover
civil penalties against Defendant Flying Food Group, LLC (“Defendant”) through a civil action
brought on behalf of themselves and other current and former aggrieved employees of
Defendant.

Attached is a list of violations relevant to the aforementioned action. Plaintiffs will
send updated notice should further investigation shed light on new violations or further light on
the violations described herein. Please consider this letter as the notice required by Labor Code

Section 2699.3.
Very truly yours,
Arlo Garcia Uriarte
Enclosure .

“cee: Flying Food Group LLC
5559 § Archer Avenue
Chicago, IL 60638

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Labor Code § 2699 Notice of Violations

Plaintiff Elias Yamido (“Plaintiff Elias”) is a current employee of Defendant Flying Food
Group, LLC (“Defendant”). He started working for Defendant in or around March 2016. Plainuff Elias
has been employed by Defendant as a full-time porter/maintenance person. Plaintiff Mark Sibayan
(“Plaintiff Sibayan’’) is a former employee of Defendant. He worked as beverage assembler from in or
around December 2016 unti] approximately December 2017. Plaintiff Thelma Yamido (“Plaintiff
Thelma”) is also a former employee of Defendant. She worked as food preparer from in or around May
2016 through approximately June 2017.

Defendant committed and continues to commit the following wage and hour violations of
California’s Labor Code and Industrial Welfare Commission (“IWC”) Wage Order No. |. The
violations described below have occurred to the detriment of Plaintiffs and other similarly situated
employees.

(1) Defendant failed to pay Plaintiffs and similarly situated employees their wages for all hours
worked, including overtime compensation, in violation of Labor Code §§ 204, 500 & 510,
and IWC Wage Order No.1 §3. Defendant has utilized the following policies/practices: (1)
rounding off and/or shaving of time worked; and (2) requiring unpaid off-the-clock work.
Both have resulted in the nonpayment of wages, including overtime compensation. Plainuffs
request that they and similarly situated employees be awarded all applicable damages and
civil penalties under the law including those listed in Labor Code §1194.2(a) and [WC

_ Wage Order No. 1.

(2) Defendant denied Plaintiffs and similarly situated employees proper, timely, and complete
off-duty mea! periods in violation of by Labor Code §§ 226.7, 512, and IWC Wage Order
No. | §11(A). Due to the volume of Plaintiffs’ tasks, their hectic schedule, and lack of
reliever employees, they are/were not able to take timely, proper, and complete off-duty
meal periods. Additionally, Defendant does not have a policy and/or practice in place for
providing meal period compensation to its employees. This violates Labor Code §§ 226.7
and 512 and IWC Wage Order No. 1 §11(D). Plaintiffs request that they and similarly
situated employees be awarded all applicable damages and civil penalties including those
pursuant to Labor Code §§ 558, 226.7(c), and IWC Wage Order No. | §1 I(D).

(3) Defendant also denied Plaintiffs and similarly situated employees adequate rest breaks, Due
to their work volume, hectic work schedule, and lack of reliever employees, Plaintiffs
are/were not able to take rest breaks. This is in violation of Labor Code § 226.7 and IWC
Wage Order No. ! §12(A). Additionally, Defendant does not have a policy and/or practice
in place for providing rest break compensation. This violates Labor Code §§ 226.7 and IWC
Wage Order No. |] §12(B). Plaintiffs request that they and similarly situated employees be
awarded all applicable damages and civil penalties pursuant to Labor Code §$§ 558, 226.7(c),
and Wage Order No. | §12(B). .

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(4) Asa result of Defendant’s failure to pay Plaintiffs and similarly situated employees their
correct wages for all hours worked, including overtime compensation and premium
compensations due for missed meal periods and rest breaks, the wage statements issued by
Defendant to Plaintiffs and similarly situated employees are/were not accurate, in violation
of Labor Code § 226 and [WC Wage Order No. | §7. Plaintiffs and similarly situated
employees request that they be awarded statutory penalties pursuant to Labor Cade § 226.3
and § 226(e).

(5) Throughout Plaintiff Thelma Yamido’s shift, she and similarly situated current and former
food preparers were standing while working. Plaintiff Thelma Yamido’s and similarly
situated current and former food preparers’ nature of work reasonably permitted the use of
seats, but Defendant did not allow them to use seats while preparing food on a work table
while standing. In view of this, Defendant failed to allow and provide Plaintiff Thelma
Yamido and similarly situated current and former food preparers suitable seats in violation
of IWC Wage Order No. | §14.

(6) Defendant failed to pay Plaintiffs Mark Sibayan and Thelma Yamido similarly situated
former employees of Defendant, all wages due, including unpaid regular and overtime hours
worked, and meal period and rest break premiums, immediately at the time of their
discharge or within seventy-two (72) hours of their resignation, in violation of Labor Code
$§ 201 and 202. Plaintiffs Mark Sibayan and Thelma Yamido and similarly situated former
employees of Defendant request that they be awarded statutory penalties pursuant to Labor
Code -§203 and [WC Wage Order No. 1.

Pursuant to Labor Code § 2699, Plaintiffs seek to recover all applicable civil penalties,
including those listed in IWC Wage Orders, Labor Code §§ 558 and 2699(f) from Defendant for the
aforementioned violations of the Labor Code and IWC Wage Order No. 1.

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‘Case 3:19-cv-00344-RS Document 1-2 Filed 01/18/19 Page 43 of 51

Arlo Garcia Uriarte, SBN 231764 ©
Un Kei Wu, SBN 270058 |
Emesto Sanchez, SBN 278006
Daniel P. Iannitelli, SBN 203388

Jonathan S. Rebong, SBN 235683 |
LIBERATION LAW GROUP, P.C.”
2760 Mission Street

San Francisco, CA 94110
Telephone: (415) 695-1000
Facsimile: (415) 695-1006

Attomeys for Plaintiffs
ELIAS YAMIDO, MARK SIBAYAN
and THELMA YAMIDO

FILED

SAN MATEO COUNTY
DEC 18 2018

Clerk Su Court
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SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF SAN MATEO — UNLIMITED JURISDICTION

ELIAS YAMIDO, MARK SIBAYAN
and THELMA YAMIDO, on behalf of
themselves, others similarly

situated and the general public,

Plaintiffs,
vs.

FLYING FOOD GROUP, LLC and
DOES 1-10, inclusive,

. Defendants.

PLAINTIFFS’ STATEMENT RE:

CLASS ACTION

BY FAX
Case No.: 18-CIV-06696

PLAINTIFFS’ STATEMENT RE:
COMPLEX CASE DESIGNATION

Complaint Filed: December 14, 2018

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COMPLEX CASE DESIGNATION -

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TO THE COURT AND ALL PARTIES:

PLEASE TAKE NOTICE THAT Plaintiffs Elias Yamido, Mark Sibayan, and Thelma Yamida
hereby request complex designation for this matter pursuant to California Rule of Court 3.400, ef seq,
and Local Rule 2.30 of the Local Court Rules of the Superior Court, County of San Mateo.

I, BACKGROUND

Plaintiffs filed a putative class action alleging Defendants’ failure to: (1) failure to pay all hours
worked; (2) failure to pay overtime compensation; (3) failure to pay compensation for meal period
violations; (4) failure to pay compensation for rest period violations; (5) wage statement violations; (6)
failure to provide paid sick days; (7) failure to reasonably permit use of seats; (8) waiting time penalties;
(9) violations of the private attorney general act, cal. lab. code §§ 2698, et seq; and (10) unfai
competition in violation of cal. bus. and prof. code §§ 17200 et seq.

IL BASIS FOR DESIGNATION

Local Rule 2.30(B) states “an action is provisionally a complex case if it involves one or more of
the following types of claims:...(6) claims involving class actions[.]” Furthermore, it states “[t]he Court
shall treat a provisionally complex action as a complex ‘case until the Presiding Judge has the
opportunity to decide whether the action meets the definition in California Rules of Court, Rule 3.400,
subdivision (a).”

Therefore, Plaintiffs now request complex designation under California Rules of Court Rule
3.400, et seq., on the following grounds:

(1) Complexity of anticipated factual and/or legal issues. Plaintiffs submit that due to the various

wage and hour causes of action alleged on a putative class basis, the Parties will face
complex legal issues regarding the application of the labor code. The Parties will dispute
whether Defendants adhered to the Labor Code not just as to Plaintiffs but as to a large group
of current and former employees. In turn, class certification issues must be looked at which
will entail voluminous discovery to fully investigate Plaintiffs’ putative class and PAGA
claims.

(2) Numerous pretrial motions that will be time-consuming to resolve. Plaintiffs anticipate that

their class certification motion will be a time-consuming endeavor because of the discovery,

PLAINTIFFS’ STATEMENT RE: COMPLEX CASE DESIGNATION

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required.

(3) Management of a large number of witnesses or a substantial amount of documentary
evidence. Plaintiffs believe the putative class consists of over 500 people. This means a large
number of witnesses must be consulted to further investigate Plaintiffs’ putative class claims,
Defendants presumably possess extensive payroll, timekeeping, and other records relevant to
the: putative class. Plaintiffs will request these in discovery, which wil! be a time consuming
process that may involve disputes that could require Court intervention.

(4) Substantial post-judgment judicial supervision wil! be required if Plaintiffs prevail as 4
certified class.

As indicated by Rule 3.400, this is the type of case which requires complex case management to
avoid placing unnecessary burdens on the Court and litigants and to expedite the case, keep costs}
reasonable, and promote effective decision making by the Court and litigants.

Mil CONCLUSION

Based on the above-stated supporting information, there is reasonable basis for the complex case

designation. Therefore, Plaintiffs request that the Court designate this case 4s a complex matter under

California Rule of Court 3.400, ef seq. and Local Rule 2.30 of the Local Court Rules of the Superior

Court, County of San Mateo,

Dated: December 17, 2018 . LIBERATION LAW GROUP, PC.

Arlo Garcia Uriarte
Jonathan S. Rebong
Attorneys for PLAINTIFFS

PLAINTIFFS’ STATEMENT RE: COMPLEX CASE DESIGNATION

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Case 3:19-cv-00344-RS Document 1-2 Filed 01/18/19 Page 46 of 51

NOTICE OF CASE MANAGEMENT CONFERENCE

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{ e No:
ENDORSED FILED " 18C1 Voges

SAN MATEO COUNTY APR 17 2019

& ly [A g  Frecl by oop, Cf Coc 14 201

Clark of the Superior Court Fime 9:00 a.m.
Byt ANTONIO R. GERONIMO
Deputy ClerkVEPt. ~-on Tuesday & Thursday

Dept. ! ~on Wednesday & Friday

You are hereby given notice of your Case Management Conference, The date, time end department have been written above,

1.

In accordance with applicable California Rules of the Court end local Rules 2.3(d)1-4 and 2.3(m), you are hereby ordered
to: .
2) Serve all named defendants and file proofs of service on those defendants with the court within 60-days of filing
the complaint (CRC 201.7).
b) Servea copy of this notice, Case Management Statement and ADR information Sheat on alt named parties in this
action. ,
c} File and serve a completed Case Management Statement at least 15-days before the Case Management
Conference [CRC 212(g)}. Failure to do so may result in monetary sanctions.
d) Meet and conier, in person or by telephone, to consider each of the issues Identified in CRC 212(f] no latar than
30-days before the date set for the Case Management. Conference.

‘if you fail to follow the orders above, you are ordered to show cause why you should not be sanctioned. The Order
to Show Cause hearing will be at the same time as the Case Management Conference hearing. Sanctions may
include monetary, evidentiary or issue sanctions as well as striking pleadings and/or dismissal,

for further information regarding case management policies and procedures, see the court's website at:

Continuances of Case Mana gement Conferences are highly disfavored unless good cause is shown.
Parties may proceed to an appropriate dispute resolution process (“ADR”) by filing a Stipulation to ADR and Proposed
Order (see attached form). if plaintiff files a Stipulation to AOR and Proposed Order electing to proceed to judicial
arbitration, the Case Management Conference will be taken off the court calendar and the case will be referred to the
_ Arbitration Administrator. If plaintiffs and defendants fite a completed stipulation to another ADR process (e.g.,
mediation) 10-days prior to the first scheduled Case Management Conference, the Case Management -Conference will be
continued for 90-days to allow parties time to complete their ADR session. The court twill notify parties of their new Case
Management Conference date.
\f you have filed a default ora judgment has been entered, your case is not automatically taken off Case Management
Conference. Calendar. if “Does”, “Roes,” etc. are named in your complaint, they must be dismissed in order to close the
case. If any party is in bankruptey, the caseis stayed only as to that named party.
You are further ordered to appear in person* (or through your attorney of record) at the Case Management Conference
noticed above. You must be thoroughly familiar with the case and fully authorized to proceed,
The Case Management judge will issue orders at the conclusion of the conference that may Include:
a) Referring parties to voluntary ADR and setting an ADR completion date;
b) Dismissing or severing claims or parties;
c} Setting a trial date,
- The Case Management judge may be the trial judge in this case.

+ Www. saamategcourtorg

*Telephonic onpecronces at case monagement conferences are ovoiloble by contecting CourtColl, tie, an independent vendar, ot leost five business devs prior
tothe scheduled conference (see ottoched CourtColl information).

Case 3:19-cv-00344-RS Document1-2 Filed 01/18/19 Page 47 of 51

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Civil Department

400 County Center, Redwood City, CA 94063 '
(650) 261-5100 of
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Clerk 9

SUPERIOR COURT OF SAN MATEO COUNTY
SAN MATEO COUNTY

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ELIAS YAMIDO Notice of Complex Case Status Co Areyelice =>
Plaintiff (s) : =
VS. Case No.: 18-CIV-06696 | Date: 2/14/2019 4S
Time: 9:00 AM IS
FLYING FOOD GROUP, LLC Dept. PJ . . =
Defendant (s) EF >=
| Title: ELIAS YAMIDO, ET AL VS. FLYING FOOD GROUP, LEC, ET AL ze 2
1655 ==
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You are hereby given notice of your Complex Case Status Conference. The date, time and department have been

written above. At this conference, the Presiding Judge will decide whether this action is a complex case within the

meaning of California Rules Court (“CRC”), Rule 3.400, subdivision (a} and whether it should be assigned to a single
judge for all purposes.

1. In accordance with applicable San Mateo County Local Rule 2.30, you are hereby ordered to:
Serve copies of this notice, your Civil Case Cover Sheet, and your Certificate Re: Complex Case Designation
cn all named parties in this action no later than service of your first appearance pleadings.
b. Give reason notice of the Complex Case Status Conference to all named parties in this action, even if they

a.

have not yet made a first appearance or been formally served with the documents listed in subdivision (a).

Such notice shall be given in the same manner as required for an ex parte application pursuant to CAC
3:1203.

2. If you fail to follow the orders above, you are ordered to show cause why you should not be sanctioned. The

Order to Show Cause hearing will be at the same time as the Complex Cause Status Conference. Sanctions
may include monetary, evidentiary or issue sanctions as well as striking pleadings and/or dismissal. ~

3.
or trade reputation claims; (2) construction defect claims involving many parties or structures; (3) securities

claims or investment Josses involving many parties; (4) environmental or toxic tort claims involving many
parties; (5) claims involving massive torts; (6) claims involving class actions; or (7) insurance coverage claims
arising out of any of the claims listed in subdivisions (1} through (6). The Court shail treat a provisionally

An action is provisionally a complex case if it involves one or more of the following types of claims: (1) antitrust

complex action as a complex case until the Presiding Judge has the opportunities to decide whether the action

meets the definition in CRC 3.400(a}.

Any party who fifes either a Civil Case Cover Sheet (pursuant to CRC 3.401) or counter or joinder Civil Case Cover
Sheet (pursuant to CRC 3.402, subdivision (b) or (C)), designating an action as a complex case in Items 1,2 and/or
5, must also file an accompanying Certificate Re: Complex Case Designation in the form prescribed by the Court.
The certificate must include supporting information showing a reasonable basis for the complex case
designation being sought. Such supporting information may include, without limitation, a brief description of
the following factors as they pertain to the particular action: (1} management of a large number of separately
represented parties; (2) complexity of anticipated factual and/or legal issues’ (3) numerous pretrial motions that
will be time-consuming to resolve; (4) management of a large number of witnesses or a substantial amount of
documentary evidence; (5) coordination with related actions pending in one or more courts in other counties,
states or countries or ina federal court; (6) whether or not certification of a putative class action will in fact be

pursued; and (7) substantial post-judgment judicial supervision.

Rev. Jun, 2016

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For further information regarding case management policies and procedures, see the court website at

www. sanmateocour t.ore

* Telephone appearances at Complex Case Status Conference are available by contacting CourtCall, LLC, and
independent vendor, at least 5 business days prior to the scheduted conference.

CLERK’S CERTIFICATE OF MAILING
1 hereby certify that | am the clerk of this court, not a party of this cause; that | served a copy of this notice on the below
date, by placing a copy thereof in separate sealed envelopes addressed to the address shown by the records of this court
as set forth above, and by then sealing said envelopes and depositing same, with postage fully pre-paid thereon, in the
United States Mail at Red wood City, California.

Date: 12/14/2018 Neal I. Taniguchi,
’ Court Executive Offféer/Cler

By:

Antonio. G¢roniino,
Deputy Clerk

Copies mailed to:

ARLO URIARTE

LIBERATION LAW GROUP PC
2760 MISSION ST

SAN FRANCISCO CA 94110

Rev. Jun..2016 °

Case 3:19-cv-00344-RS Document 1-2 Filed 01/18/19 Page 49 of 51

4

PCT Corporation Service of Process
Transmittal
12/20/2018
CT Lag Number 534613500

TO: Giselli Wilkins

Flying Food Companies

5333 S Laramie Ave Ste 220

Chicago, iL 60638-3051

RE: Process Served in California

FoR: FLYING FOOD GROUP, LLC (Domestic State: DE)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION: ELIAS YAMIDO, et al., Pltfs. vs. Flying Food Group, LLC, et al., Dfts.
DOCUNENT(S) SERVED: Summons, Complaint, Attachment(s)
COURTIAGENCY: San Mateo County - Superior Court - Redwood City, CA
Case # 18CIV06696
NATURE OF ACTION: Employee Litigation - Unpaid Wages
ON WHOM PROCESS WAS SERVED: National Registered Agents, Inc., Los Angeles, CA .
DATE AND HOUR OF SERVICE: By Process Server on 12/20/2018 at 11:49
JURISDICTION SERVED ; California
APPEARANCE OR ANSWER DUE: Within 30 days after service
ATTORNEY(S) / SENDER(S): Arlo Uriarte

Liberation Law Group, P.C
2760, Mission Street
San Francisco, CA 94110

415-695-1000
ACTION ITEMS: SOP Papers with Transmittal, via UPS Next Day Air , 1ZX2127801 10478504
SIGNED: National Registered Agents, Inc.
ADDRESS: 818 West Seventh Street
Los Angeles, CA 90017
TELEPHONE: 213-337-4615

Page 1 of 1 / ST

Information displayed on this transmittal is for CT
Corporation's record keeping purposes only and is provided'to
the recipient for quick reference. This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained in the documents themselves, Recipient is
responsible for interpreting said documents and for taking:
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents,

& Case 3:19-cv-00344-RS Document 1-2 Filed 01/18/19 Page 50 of 51
» GT Packing Slip CT Corporation

UPS Tracking #: © 12X212780110478504
Created By: — Shivani Thakkar
Created On: 12/21/2018 05:59 AM

Recipient :

Tile: -
Customer: Flying Food Companies
Address: 5333 S Laramie Ave Ste 220

Email: — jzhang@flyingfood.com
Phone: — 000-000-0000 Fax: =

Package Type: Envelope
Htems shipped: 1

934613500 48CiV06696 FLYING FOOD GROUP, LLC

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6815 SAUKVIEW DR
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FLYING FOOD COMPANIES
5333 § LARAMIE AVE STE 220

CHICAGO IL 60638

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